Case 1:05-cr-10035-.]DT Document 17 Filed 08/22/05 Page 1 of 2 Page|D 18

IN THE UNITED STATES DlSTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

EASTERN DIVISION
UNITED STATES OF AMERICA
vs CR NO. ]:05-10035-Ol-T
JAMES S. HlLL
ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on August 22, 2005, Assistant U. S. Attomey,
Victor Lee Ivy, appearing for the government, and the defendant appeared in person
and With counsel, M. Dianne Srnothers, Who was appointed

With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Counts 1 of the lndictment.

This case has been set for sentencing on Tuesday ., November ]5.. 2005. at 9:00

The defendant is remanded to the custody of the United States Marshal.

JA®/m,eabrv

S D. TODD
TED STATES DISTRlCT JUDGE

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IT IS SO ORDERED.

Thls document entered on the docket sheet tn com§!§nce
w\th Hu|e 55 andlor 32(b) FRCrP on

DISTRIC COURT - WESRNTE D"'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 1:05-CR-10035 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

 

M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

